             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CIVIL CASE NO. 2:07-cr-00039-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                 ORDER
                                 )
GAVIN COLVIN                     )
________________________________ )

     THIS MATTER is before the Court on the Defendant’s pro se Motion

for Reduction of Sentence filed pursuant to 18 United States Code §

3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

[Doc. 162].

     It appears to the Court that the Defendant has stated a colorable

basis for relief in his Motion.   In addition, the Probation Office has

submitted a supplement to the Defendant’s Presentence Report (“PSR”) in

this matter. [Doc. 164]. Based thereon, the Court determines that the

United States Attorney and the Federal Defenders of WNC, Inc., should

provide the Court with their respective positions regarding the PSR

supplement.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days

from the entry of this Order, the United States Attorney and the Federal




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Defenders of WNC, Inc., shall file pleadings responsive to the Probation

Officer’s PSR supplement filed in this matter.

     IT IS SO ORDERED.
                                   Signed: January 22, 2015




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